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                               Rep. Ex.
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      GUBAREV vs BUZZFEED                                                       1

 ·1

 ·2· · · · IN THE UNITED STATES DISTRICT COURT

 ·3· · · · · · SOUTHERN DISTRICT OF FLORIDA

 ·4

 ·5· · ALEKSEJ GUBAREV, XBT HOLDING· ·)Case No.
 · · · S.A., AND WEBZILLA, INC.,· · · )17-CV-60426-
 ·6· · · · · · · · · · · · · · · · · ·)UU
 · · · · · · · · · Plaintiffs,· · · · )
 ·7· · · · · · · · · · · · · · · · · ·)
 · · · · · · · ·vs.· · · · · · · · · ·)
 ·8· · · · · · · · · · · · · · · · · ·)
 · · · BUZZFEED, INC. AND BEN· · · · ·)
 ·9· · SMITH,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · · · ·)
 10· · · · · · · · Defendants.· · · · )
 · · ·--------------------------------)
 11

 12

 13· · · · · · ·DEPOSITION OF KEN BENSINGER

 14· · · · · · · · ·New York, New York

 15· · · · · · Wednesday, February 7, 2018

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 20

 21

 22

 23

 24· ·Reported by:
 · · ·TAMI H. TAKAHASHI, RPR, CSR
 25· ·JOB NO. J1400361


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 ·1
 ·2· ·K E N· ·B E N S I N G E R,· ·called as a
 ·3· · · ·witness, having been duly sworn by a
 ·4· · · ·notary public, was examined and testified
 ·5· · · ·as follows:
 ·6· · · · · · · · · · EXAMINATION
 ·7· ·BY MR. FRAY-WITZER:
 ·8· · · · Q.· ·Good morning.
 ·9· · · · A.· ·Good morning.
 10· · · · Q.· ·If you would first state your name
 11· ·for the record.
 12· · · · A.· ·My name is Ken Bensinger.
 13· · · · Q.· ·And would you spell your last name,
 14· ·please.
 15· · · · A.· ·B, as in boy, E-N-S-I-N-G-E-R.
 16· · · · Q.· ·Have you ever been deposed before?
 17· · · · A.· ·No, I have not.
 18· · · · Q.· ·So I'd like to explain to you
 19· ·up-front sort of what the ground rules are
 20· ·for a deposition because they can be a little
 21· ·unusual.
 22· · · · · · ·I will ask questions and obviously
 23· ·I'm going to hope that we get answers.· Is
 24· ·that acceptable?
 25· · · · A.· ·Yes.


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 ·1· · · · · · · · · · ·Bensinger
 ·2· · · · A.· ·Two children.
 ·3· · · · Q.· ·Can you tell me, please.· You
 ·4· ·attended Duke University; is that correct?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·And what was your major at Duke?
 ·7· · · · A.· ·I majored in political science and
 ·8· ·English.
 ·9· · · · Q.· ·And when did you graduate from Duke
 10· ·University?
 11· · · · A.· ·1997.
 12· · · · Q.· ·And following your graduation from
 13· ·Duke University, if you could take us through
 14· ·your employment history, where did you first
 15· ·work after Duke?
 16· · · · A.· ·My first job after college was as
 17· ·an intern at a magazine called Swing Magazine
 18· ·based here in New York.
 19· · · · Q.· ·What were your responsibilities as
 20· ·an intern for Swing Magazine?
 21· · · · A.· ·Clerical, filing, faxing, sending
 22· ·and receiving packages and doing some brief
 23· ·articles under 300 words, typically.
 24· · · · Q.· ·What kinds of articles did you
 25· ·write for them?


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 ·1· · · · · · · · · · ·Bensinger
 ·2· · · · A.· ·For example, I wrote one about a
 ·3· ·new kind of arcade video game that allegedly
 ·4· ·would -- that would spray out smells while
 ·5· ·you played the game and they thought that was
 ·6· ·going to be the future of video games.· It
 ·7· ·turned out not to be true.
 ·8· · · · Q.· ·Thankfully.
 ·9· · · · · · ·How long were you at Swing
 10· ·Magazine?
 11· · · · A.· ·I was there approximately six or
 12· ·seven months.
 13· · · · Q.· ·And why did you leave Swing?
 14· · · · A.· ·I got an offer of employment from
 15· ·The Wall Street Journal.
 16· · · · Q.· ·And what was your title at The Wall
 17· ·Street Journal?
 18· · · · A.· ·My first title at The Wall Street
 19· ·Journal was news assistant.
 20· · · · Q.· ·And what were your job duties as a
 21· ·news assistant?
 22· · · · A.· ·News assistant was an entry-level
 23· ·reporting-track job.· I was assisting more
 24· ·senior reporters with their work and writing
 25· ·brief articles.· My beat at that point was


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 ·1· · · · · · · · · · ·Bensinger
 ·2· ·residential real estate.
 ·3· · · · Q.· ·How did you come to be employed at
 ·4· ·The Wall Street Journal?
 ·5· · · · A.· ·In 1997 The Wall Street Journal was
 ·6· ·planning to open a new section called the
 ·7· ·Weekend Section, Weekend, which was a
 ·8· ·once-a-week supplement that would run on
 ·9· ·Fridays, and as a result they needed to hire
 10· ·a lot of people.· I heard about the
 11· ·opportunity, applied and interviewed for the
 12· ·job with the editor of that section, and for
 13· ·whatever reason they elected to offer me the
 14· ·job.
 15· · · · Q.· ·How long were you a news assistant
 16· ·with The Wall Street Journal?
 17· · · · A.· ·Approximately a year.
 18· · · · Q.· ·And did you then have another
 19· ·position at The Wall Street Journal?
 20· · · · A.· ·Yes.· I was promoted to reporting
 21· ·assistant.
 22· · · · Q.· ·What were your job duties as a
 23· ·reporting assistant?
 24· · · · A.· ·At that point I had a beat of
 25· ·covering the commercial art market and as


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 ·1· · · · · · · · · · ·Bensinger
 ·2· ·well as the nonprofit art space such as
 ·3· ·museums and galleries, and I wrote a or
 ·4· ·contributed to a weekly column on the art
 ·5· ·market that ran in the Weekend section.· My
 ·6· ·day-to-day duties were typically -- were
 ·7· ·essentially the same as a full reporter.
 ·8· · · · Q.· ·And how long did you hold that
 ·9· ·position?
 10· · · · A.· ·Approximately a year, a year and a
 11· ·half.
 12· · · · Q.· ·And then were you promoted to
 13· ·another position at The Wall Street Journal?
 14· · · · A.· ·Yes, I was.
 15· · · · Q.· ·And what was that?
 16· · · · A.· ·Staff reporter.
 17· · · · Q.· ·From the time that you started with
 18· ·The Wall Street Journal and throughout your
 19· ·time at the Journal, does the Journal provide
 20· ·training for its reporter-track employees?
 21· · · · A.· ·At that time I don't recall
 22· ·specific training programs.· It was more of
 23· ·an on-the-job-type training, working with
 24· ·other reporters and editors and being trained
 25· ·in that fashion.


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 ·1· · · · · · · · · · ·Bensinger
 ·2· · · · Q.· ·Were there any kinds of seminars
 ·3· ·that were offered to the staff?
 ·4· · · · A.· ·There were, as I recall it,
 ·5· ·informal seminars.· For example, I remember
 ·6· ·one brown bag luncheon, as they called it,
 ·7· ·called "The care and feeding of sources."
 ·8· ·But these were not required.· These were
 ·9· ·voluntarily offered programs where we would
 10· ·learn from other reporters about reporting
 11· ·and writing techniques.
 12· · · · Q.· ·Was that a seminar you attended?
 13· · · · A.· ·I did recall attending that one,
 14· ·yes.
 15· · · · Q.· ·Did The Wall Street Journal provide
 16· ·its reporters, you in particular, with any
 17· ·guidelines concerning the sourcing of
 18· ·stories?
 19· · · · A.· ·I don't recall.
 20· · · · Q.· ·Do you recall what The Wall Street
 21· ·Journal's guidelines were about sourcing of
 22· ·stories?
 23· · · · A.· ·I don't recall a codified document
 24· ·that we reviewed in that regard.
 25· · · · Q.· ·To the best of your recollection,


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 ·1· · · · · · · · · · ·Bensinger
 ·2· ·did The Wall Street Journal utilize a
 ·3· ·two-source rule?
 ·4· · · · A.· ·I honestly don't recall what their
 ·5· ·rule was for sourcing of stories.· My
 ·6· ·recollection is that it depended on the
 ·7· ·story.
 ·8· · · · Q.· ·Do you know what a two-source rule
 ·9· ·is?
 10· · · · A.· ·I'm not sure I do.
 11· · · · Q.· ·Have you worked for any
 12· ·publications that require two sources to
 13· ·verify pieces of information before a story
 14· ·can be run?
 15· · · · A.· ·I have worked for publications that
 16· ·have rules about or guidelines about
 17· ·publication.· I don't recall ever being
 18· ·informed about a specific two source rule.
 19· · · · Q.· ·Which publications did you work for
 20· ·that you recall having rules, sourcing rules?
 21· · · · A.· ·The Los Angeles Times and BuzzFeed
 22· ·both had written codes of -- journals of
 23· ·codes and ethical guidelines for reporting
 24· ·that we were asked to review every year.
 25· · · · Q.· ·So after your position as a staff


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 ·1· · · · · · · · · · ·Bensinger
 ·2· ·reporter with the Journal, what was your next
 ·3· ·position?
 ·4· · · · A.· ·In 2001, I moved to Mexico City.                    I
 ·5· ·quit The Wall Street Journal and took an
 ·6· ·Inter-American Press Association fellowship
 ·7· ·to report and study in Mexico City.
 ·8· · · · Q.· ·And was this a fellowship of some
 ·9· ·specific duration?
 10· · · · A.· ·Eleven months.
 11· · · · Q.· ·And what did the fellowship entail?
 12· · · · A.· ·I received a stipend, as I recall
 13· ·$13,000, and was asked to study some aspect
 14· ·of Latin American history and culture and to
 15· ·write freelance articles from Mexico.
 16· · · · Q.· ·Is there a specific reason you
 17· ·decided to leave the Journal to take this
 18· ·fellowship?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·And what was that?
 21· · · · A.· ·I was 26 years old and very eager
 22· ·to be a foreign correspondent.· I had --
 23· ·after being promoted to full reporter I
 24· ·approached the foreign editor at the time,
 25· ·expressed to him my enthusiasm for being a


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 ·1· · · · · · · · · · ·Bensinger
 ·2· ·reporter abroad.· He told me that while he
 ·3· ·welcomed my enthusiasm, I was too young, I
 ·4· ·needed six more years on my current beat
 ·5· ·before he would send me abroad.
 ·6· · · · · · ·At that time that seemed an
 ·7· ·impossibly long time, and so I sought -- and
 ·8· ·I at that time was unhappy with the beat I
 ·9· ·was on, and so I sought alternative ways to
 10· ·get to Latin America.
 11· · · · Q.· ·Once the fellowship concluded, what
 12· ·was your next employment?
 13· · · · A.· ·I stayed on in Mexico beyond the
 14· ·end of the fellowship and continued writing
 15· ·freelance in Mexico.
 16· · · · Q.· ·And for how long did you do that?
 17· · · · A.· ·I was in Mexico, including the
 18· ·fellowship period of time, just shy of four
 19· ·years.
 20· · · · Q.· ·So was it 2005 when you left
 21· ·Mexico?
 22· · · · A.· ·That's correct.
 23· · · · Q.· ·And what was your next position
 24· ·after that?
 25· · · · A.· ·I was a staff writer at Smart Money


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 ·1· · · · · · · · · · ·Bensinger
 ·2· ·magazine.
 ·3· · · · Q.· ·And what were your responsibilities
 ·4· ·there?
 ·5· · · · A.· ·I researched and reported features
 ·6· ·and long stories about banking and other
 ·7· ·consumer finance issues.
 ·8· · · · Q.· ·Do you remember Smart Money
 ·9· ·magazine having any codified rules about
 10· ·sourcing of stories?
 11· · · · A.· ·I don't recall.
 12· · · · Q.· ·Do you remember any rules that they
 13· ·had about sourcing of stories, whether or not
 14· ·they were codified?
 15· · · · · · ·MS. BOLGER:· Object to the word
 16· · · · "codified."
 17· ·BY MR. FRAY-WITZER:
 18· · · · Q.· ·Whether or not they were written.
 19· · · · A.· ·I don't recall ever being shown
 20· ·rules or discussing rules about how to
 21· ·publish an article or not.
 22· · · · Q.· ·How long were you at Smart Money
 23· ·magazine?
 24· · · · A.· ·Just over two years.
 25· · · · Q.· ·And where did you go after that?


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 ·1· · · · · · · · · · ·Bensinger
 ·2· · · · A.· ·The Los Angeles Times.
 ·3· · · · Q.· ·And how did you come to be employed
 ·4· ·at the L.A. Times?
 ·5· · · · A.· ·I was informed there was an opening
 ·6· ·on the automotive beat, industry beat, and I
 ·7· ·applied for the job and was chosen to take
 ·8· ·it.
 ·9· · · · Q.· ·How long did you remain at the
 10· ·Los Angeles Times?
 11· · · · A.· ·Slightly longer than six years.
 12· · · · Q.· ·Did your title at the L.A. Times
 13· ·change over those years?
 14· · · · A.· ·No, it did not.
 15· · · · Q.· ·Did your beat change over the
 16· ·years?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Can you tell us, starting with the
 19· ·automotive industry, what were your other
 20· ·beats?
 21· · · · A.· ·Starting with automotive industry,
 22· ·I then became an investigative business
 23· ·reporter with no specific beat assignment,
 24· ·and that was the job I maintained for the
 25· ·rest of the time at the L.A. Times.


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 ·1· · · · · · · · · · ·Bensinger
 ·2· · · · Q.· ·And that brings us I think to 2013.
 ·3· ·Is that right?
 ·4· · · · A.· ·2014.
 ·5· · · · Q.· ·2014.· And where did you go in
 ·6· ·2014?
 ·7· · · · A.· ·In February of 2014 I began working
 ·8· ·at BuzzFeed.
 ·9· · · · Q.· ·How did you come to work at
 10· ·BuzzFeed?
 11· · · · A.· ·I was contacted by Mark Schoofs,
 12· ·who asked me if I would be interested in
 13· ·interviewing for a job on the investigative
 14· ·team.
 15· · · · Q.· ·And where had you known Mark
 16· ·Schoofs from?
 17· · · · A.· ·I did not know him prior to that.
 18· · · · Q.· ·How did he come to reach out to you
 19· ·to apply for the job?
 20· · · · A.· ·I don't exactly know.· I do know he
 21· ·worked at ProPublica prior to BuzzFeed, and
 22· ·at the same time I was also contacted by
 23· ·ProPublica also inquiring if I would like to
 24· ·work there.· There may be a connection, I
 25· ·don't know.


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 ·1· · · · · · · CONFIDENTIAL - Bensinger
 ·2· ·and less inclined to believe exists."
 ·3· · · · · · ·What are you talking about there?
 ·4· · · · A.· ·This falls within what we've been
 ·5· ·discussing, my attempts -- at that point
 ·6· ·thwarted or incomplete attempts -- to get a
 ·7· ·copy of the dossier or to stand up that
 ·8· ·information I had been given on December 1st.
 ·9· · · · · · ·At that time I was doing research
 10· ·about and reading about Russian intelligence
 11· ·operations and as I recall, one of the things
 12· ·I learned is that compromising material,
 13· ·which I learned is sometimes called
 14· ·"kompromat," is often held by Russian
 15· ·intelligence and never released, meaning it's
 16· ·virtually impossible to actually obtain.
 17· · · · Q.· ·So I want to just break that out
 18· ·into two sections for a moment.
 19· · · · · · ·You weren't saying that you doubted
 20· ·that the dossier itself existed, were you?
 21· · · · A.· ·No.
 22· · · · Q.· ·So if I understand what you were
 23· ·saying is that you doubted that there would
 24· ·be any documentary evidence of -- that could
 25· ·support your reporting on the allegations


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 ·1
 ·2· · · · · · · ·C E R T I F I C A T E
 ·3· ·STATE OF NEW YORK· · )
 ·4· · · · · · · · · · · · : ss.
 ·5· ·COUNTY OF NEW YORK· ·)
 ·6
 ·7· · · · · · ·I, TAMI H. TAKAHASHI, a Notary
 ·8· · · · Public within and for the State of New
 ·9· · · · York, do hereby certify:
 10· · · · · · ·That KEN BENSINGER, the witness
 11· · · · whose deposition is hereinbefore set
 12· · · · forth, was duly sworn by me and that
 13· · · · such deposition is a true record of the
 14· · · · testimony given by the witness.
 15· · · · · · ·I further certify that I am not
 16· · · · related to any of the parties to this
 17· · · · action by blood or marriage, and that I
 18· · · · am in no way interested in the outcome
 19· · · · of this matter.
 20· · · · · · ·IN WITNESS WHEREOF, I have hereunto
 21· · · · set my hand this 12th day of February
 22· · · · 2018.
 23
 24· · · · · · · · · · · ·_____________________
 25· · · · · · · · · · · ·TAMI H. TAKAHASHI


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